WORTHE HANSON & WORTHE

1851 EAST FIRST ST., SUITE 400

SANTA ANA, CALIFORNIA 92705

Case

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Attorneys for Defendant, UNITED AIRLINES, INC.

UNITED STATES DISTRICT COURT
FOR THE STATE OF CALIFORNIA, CENTRAL DISTRICT

JOHN DOE 1, an individual; and JOHN DOE 2, USDC Case No.:
an individual [LASC Case No. 20STCV 18888]

)

)

)

Plaintiff, )

) NOTICE OF INTERESTED

v. ) PARTIES
)

UNITED AIRLINES, INC., An Illinois )

Corporation; ROE 1, an individual: ROE 2, an )

individual; ROE 3, an individual; and ROES 4 )

through 50, inclusive. )
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)

Defendants. Complaint Filed: 5/18/2020

 

JURISDICTION of this Court is invoked on the basis of diversity of
citizenship and pursuant to 28 U.S.C. §1332, and 28 U.S.C. §1446.

TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:

PLEASE TAKE NOTICE that the undersigned, counsel of record for
Defendant, UNITED AIRLINES, INC. (“UNITED”), certifies that the following
listed parties have a direct, pecuniary interest in the outcome of this case. These
representatives are made to enable the Court to evaluate possible disqualification or

recusal:

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]

 

NOTICE OF INTERESTED PARTIES

 

 
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PARTIES:
Plaintiff, JOHN DOE 1
Plaintiff, JOHN DOE 2
Defendant, UNITED AIRLINES, INC

Inc.

DATED: June 23, 2020

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By:

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Insurance carrier for Defendant, UNITED AIRLINES, INC., Global Aerospace

WORTHE HANSON & WORTHE

/s/ Todd C. Worthe
TODD C. WORTHE, ESQ.
MACKENZIE C. FOELLMER, ESQ.
Attorneys for Defendant, UNITED
AIRLINES INC.

 

 

NOTICE OF INTERESTED PARTIES

 
WORTHE, HANSON & WORTHE

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PROOF OF SERVICE
STATE OF CALIFORNIA)
)ss
COUNTY OF ORANGE )

[ am employed in the County of Orange, State of California. I am over the age of 18 and not a
party to the within action. My business address is 1851 East First Street, Ninth Floor, Santa Ana,
California 92705.

On June 23, 2020, I served the foregoing document described as: NOTICE OF
INTERESTED PARTIES to all interested parties in said action by:

O BY FACSIMILE TRANSMISSION from FAX No. (714)285-9700 to the FAX number(s)
listed below. The facsimile machine I used complied with Rule 2003(3) and no error was report by
the machine. Fax Number(s):

O BY PERSONAL SERVICE as follows: I caused such envelope to be delivered by hand to the
offices of the addressee.

O BY ELECTRONIC SERVICE at the electronic mail address stated on the attached Service
List

Xx BY MAIL as follows:

placing U the original & a true copy thereof in a sealed envelope addressed as stated

on the ATTACHED MAILING LIST.

I deposited such envelope in the mail at Santa Ana, California. The envelope was

mailed with postage thereon fully prepaid.

lam "readily familiar" with the firm's practice of collection and processing
correspondence for mailing. Under that practice it would be deposited with U.S. postal service on
that same day with postage thereon fully prepaid at Santa Ana, California in the ordinary course of
business. | am aware that on motion of party served, service is presumed invalid if postal
cancellation date or postage meter date is more than one (1) day after date of deposit for mailing in
affidavit.

O BY OVERNIGHT DELIVERY (FEDERAL EXPRESS): I deposited such an envelope in a
box or other facility regularly maintained by express service carrier, or delivered to an authorized
courier or driver authorized by the express service carrier to receive documents in an envelope or
package designated by the express service carrier with delivery fees paid or provided for, addressed
to the person on whom it is to be served as indicated on the attached Service List, at the office
address as last given by that person on any document filed in the case and served o the party making
service.

O STATE - I declare under penalty of perjury under the laws of the State of California that the
above is true and correct.

“J. FEDERAL - I declare that | am employed in the office of a member of the bar
of this court at whose direction the service was made.

Executed on June 23, 2020, at Santa Ana, California.
Ana :
GINAJM. FISHER |

PROOF OF SERVICE

 

 
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SERVICE LIST
John Doe 1; John Doe 2 v. United Airlines Inc., et al.
USDC CASE NO. Unassigned
[LASC Case No. 20STCV18888]

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(424) 369-5353 Office

ATTORNEY FOR PLAINTIFFS, JOHN DOE 1 AND JOHN DOE 2

PROOF OF SERVICE

 

 
